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 1                                                             Hon. Richard A. Jones
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 7
                        UNITED STATES DISTRICT COURT
 8                     WESTERN DISTRICT OF WASHINGTON
                                 AT SEATTLE
 9

10   JILL ALEXANDER,
                                                  No. C13-1369RAJ
11                        Plaintiff,

12          v.                                    ORDER RE: JUROR LUNCHES

13   THE BOEING COMPANY,

14                        Defendant.

15

16
           The Court hereby directs the Clerk of Court to pay for lunch that was
17

18   provided to the 7-member jury in the above entitled action, which was in

19   deliberations on August 26, 2014.
20
           DATED this 26th day of August, 2014.
21

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23
                                                    A
                                                    The Honorable Richard A. Jones
24                                                  United States District Judge
25

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     ORDER RE: JUROR LUNCHES – 1
